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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL                                               CIVIL ACTION

VERSUS                                                             NO. 12-859

MARLIN GUSMAN, ET AL                                               SECTION I


          It is with profound regret that this Court accepts the resignation of Monitor Susan

McCampbell. Ms. McCampbell, former Lead Monitor, notified the Court that she must resign for

personal reasons.

          The Court expresses its deep gratitude to Ms. McCampbell for her years of service.

Through her leadership, experience, and commitment, great strides have been made in an effort to

achieve the goal of a constitutional jail in Orleans Parish. Working with the other monitors, the

Court, plaintiffs, the City of New Orleans, and the Orleans Parish Sheriff’s Office, Ms.

McCampbell was always resolute in her efforts to achieve compliance with the Consent Decree

and build a foundation and infrastructure that would serve the citizens of this community in the

future.

          New Orleans, Louisiana this 22nd day of April, 2019.



                                              _____________________________________
                                                    LANCE M. AFRICK
                                              UNITED STATES DISTRICT JUDGE
